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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

RONALD SATISH EMRIT,

       Plaintiff,


v.                                                        Case No. 6:19-cv-1942-Orl-37EJK

UNIVERSAL MUSIC GROUP; ISLAND
DEF JAM GROUP; ESTATE OF
SHAKIR STEWART; and RICK ROSS,

      Defendants.
_____________________________________

                                          ORDER

       This cause is before the Court sua sponte. Upon review of the Complaint (Doc. 1),

the Court finds that this case should be transferred to the Tampa Division of this District.

       Local Rule 1.02(c) provides that all civil cases should be heard in the “Division

encompassing the county or counties having the greatest nexus with the cause, giving

due regard to the place where the claim arose and the residence or principal place of

business of the parties.” Here, the Complaint provides that Plaintiff is a citizen of Florida

living in Sarasota, Florida. (Doc. 1, ¶ 6.) Sarasota County lies within the Tampa Division

of this Court. Local Rule 1.02(b)(4). Therefore, in its discretion, the Court finds that the

Tampa Division is the proper venue for this action to proceed. See Local Rule 1.02(e).

       Accordingly, the Clerk is DIRECTED to transfer this action to the Tampa Division

of the U.S. District Court for the Middle District of Florida for all further proceedings.

       DONE AND ORDERED in Chambers in Orlando, Florida, on October 15, 2019.
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Copies to:
Counsel of Record
Pro se party




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